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                                           July 15, 2021                               jgarfinkle@Buchalter.com




Honorable Robert D. Drain
United States Bankruptcy Judge
U.S. Bankruptcy Court for the
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

        Re:     The Official Committee of Unsecured Creditors vs.
                (i) McKesson Corp. (Adv. Pro. 17-08264);
                (ii) McKesson Pharmacy Systems, LLC (Adv. Pro. 17-08265); and
                (iii) McKesson Specialty Care Distribution Corp. (Adv. Pro. 17-08266)
                (collectively, the “Adversary Proceedings”)_________________________

Dear Judge Drain:

       The Plaintiff and the McKesson defendants continue to make substantial progress in
completing discovery in each of the Adversary Proceedings. Among other things, after counsel
were fully vaccinated, the parties took, or soon will have taken, approximately ten in-person
depositions of witnesses located in various states throughout the United States.

        We had hoped to have concluded all discovery on time, but we were unable to do so. The
parties agree that additional time is necessary in order to be prepared to try these cases
efficiently. As a result, the Plaintiff and the McKesson defendants respectfully submit this joint
request for one final extension of the discovery cutoff from Friday, July 16, 2021 to Friday,
August 27, 2021, solely for the purpose of submitting rebuttal expert reports, responding to
discovery that has already been served, and conducting a small number of depositions that the
parties have already noticed or agreed to schedule. The parties also intend to use the time to try
to resolve as many factual issues as possible through meetings of their respective accountants,
which we expect to begin next week. There are some unresolved issues with respect to
outstanding discovery requests and witness testimony, but the parties believe that they will be
able to resolve all or most of those issues consensually.

        After the close of discovery, the parties anticipate that a pre-motion conference pursuant




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Honorable Robert D. Drain
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to Local Rule 7056-1 will be sought. Accordingly, the parties jointly request that the Court
schedule a pre-motion conference rather than a pre-trial conference on a date of the Court’s
choosing following the close of discovery, or extend the time between the close of discovery and
the conference. The parties make this request so that they will not be required to designate
witnesses, agree on a joint exhibit book, and otherwise work on being ready for trial immediately
after the close of discovery given that the trial will likely be postponed so that motions can be
filed and decided.

      Based on the foregoing, the parties respectfully request that the enclosed proposed
amended scheduling and pre-trial order be entered by the Court.

                                           Very truly yours,

                                           BUCHALTER
                                           A Professional Corporation



                                           /s/ Jeffrey K. Garfinkle

cc:     Richard K. Milin, Esq.
        Tracy Klestadt, Esq.




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